      Case 2:17-cr-00661-DMG Document 1435 Filed 10/14/21 Page 1 of 1 Page ID #:37288
                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                                     CRIMINAL MINUTES - TRIAL


 Case No.         CR 17-661(A)-DMG                                                                            Date        October 14, 2021

 Present: The Honorable        DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

 Interpreter       N/A

                                                                                                                Kristen A. Williams
                                                                                                                  Ali Moghaddas
                                                                                                                  David H. Chao
                 Kane Tien                               Suzanne McKennon                                       David C. Lachman
                Deputy Clerk                         Court Reporter/Recorder                                   Assistant U.S. Attorney



            U.S.A. v. Defendant(s):               Present        Cust.   Bond              Attorneys for Defendants:             Present App. Ret.

1) Julian Omidi                                     X                     X           1) Michael S. Schachter                        X              X

                                                                                      1) Randall W. Jackson                          X              X

                                                                                      1) John L. Brennan                             X              X

3) SURGERY CENTER MANAGEMENT,
LLC                                                                                   3) Michael Devereux                            X              X

4) MIRALI ZARRABI, M.D.                             X                     X           4) Thomas P. O'Brien                           X              X

                                                                                      4) Ivy A. Wang                                 X              X

                                                                                      4) Jennie W. VonCannon                         X              X



         Day COURT TRIAL                                    16     Day JURY TRIAL                                      Death Penalty Phase

         One day trial;        Begun (1st day);      X       Held & continued;              Completed by jury verdict/submitted to court.

         The Jury is impaneled and sworn.

         Opening statements made

  X      Witnesses called, sworn and testified.

  X      Exhibits identified                                X      Exhibits admitted
         Government rests.                          Defendant(s)                                                                               rest.

         Motion for mistrial by                                               is            granted                  denied              submitted

                 Motion for judgment of acquittal (FRCrP 29)                  is            granted                  denied              submitted

  X      Case continued to      October 19, 2021 at 9:00 a.m.              for further trial/further jury deliberation.
         Other:
                                                                                                                      4          :       41
                                                                                   Initials of Deputy Clerk     KT




CR-78 (10/08)                                            CRIMINAL MINUTES - TRIAL                                                             Page 1 of 1
